                    Case 4:09-cr-00028-WTM-GRS Document 50 Filed 08/19/09 Page 1 of 6
AO 245B (Rev 12/03) Judgment in a Criminal Case
         Sheet 1



                                     United States District Court
                                                  SOUTHERN DISTRICT OF GEORGIA
                                                       SAVANNAH DIVISION

          UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                      V.
                     Arelia Jones                                           Case Number               CR409-00028-001

                                                                            USM Number:               14003-021.
                                                                                                                                r)
                                                                            Sage Brown
                                                                            Defendant's Attorney

THE DEFENDANT:
[X]      pleaded guilty to Count j..
[]       pleaded nolo contendere to Count(s) _ which was accepted by the court.
[]       was found guilty on Count(s)_ after a plea of not guilty.
                                                                                                                         .           CJ'1

The defendant has been convicted of the following offense:


           Title & Section               Nature of Offense                                          Offense Ended                 Count

          18 U.S.C. § 1344               Bank fraud                                                   July 27, 2007                   15

        The defendant is sentenced as provided in pages 2 through 6 ofthis judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
[]       The defendant has been found not guilty on count(s)_.
[X]      Counts I through 14 and 16 through 41 are dismissed as to this defendant on the motion of the United States.


          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                                 August 17, 2009
                                                                                 Date of Imposition of Judgment


                                                                                 Signature of Judge

                                                                                 William T. Moore, Jr.
                                                                                 Chief Judge, U.S. District Court
                                                                                 Name and Title of Judge

                                                                                   Ammar /g ,-Dv9
                                                                                 Date
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AO 24513 (Rev 12/03) Judgment in a Criminal Case:                                                      Judgment-Page 2 of 6

        Sheet 2 - Imprisonment

DEFENDANT: Arelia Jones
CASE NUMBER: CR409-00028-001
                                                    FhA1I1[I)010104011
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
          for a total term of: 18 months

[]        The Court makes the following recommendations to the Bureau of Prisons:


[]        The defendant is remanded to the custody of the United States Marshal.
[]        The defendant shall surrender to the United States Marshal for this district:

          [ I at...........[ ]a.m. [ ]p,m.on
          [   as notified by the United States Marshal.

[X]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          [X] before 2 p.m. on September 22. 2009.
          [ j as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.
                                                        RETURN
          T have executed this judgment as follows:




          Defendant delivered on                            to
at                                                     with a certified copy of this judgment.




                                                                                          United States Marshal


                                                                                By
                                                                                      Deputy United States Marshal
                     Case 4:09-cr-00028-WTM-GRS Document 50 Filed 08/19/09 Page 3 of 6
AC) 245B (Rev 2/03) Judgment in a Criminal Case                                                                                          Judgment-Page 3 of 6
       Sheet 3 - Supervised Release

DEFENDANT: Arelia Jones
CASE NUMBER: CR409-00028-001
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be oil                 release for a term of: 5 years


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.

The defendant shall not commit another federal, state. or local crime.

The defendant shall not unlawfully possess a controlled substance. ftc defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

          The above drug testing condition is suspended, based oil       court's determination that the defendant poses a low risk of future substance abuse.
           (Check, if applicable.)

[X]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

1XI       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

11        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student. as
          directed by the probation officer. (Check, if applicable.)

          The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a tine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

I)        the defendant shall not leave the judicial district without the permission of the court or probation officer:

2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days ofeach month:

3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer:

4)        the defendant shall support his or her dependents and meet other Pamily responsibilities;

5)        the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable
          reasons;

6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
          or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:

9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted permission to do so by the probation officer:

10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;

11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer:

12)       the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the permission
          of the court;

13)       as directed by the probation officer, the defendant shall notify third parties of'risks that may be occasioned by the defendant's criminal record
          or personal history or characteristics and shall permit the probation officer to make such notification and to confirm the defendant's compliance
          with such notification requirement: and

14)       Any possession, USC, or attempted use of any device to impede or evade drug testing shall be a violation of supervised release.
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AO 2458 (Rev 12/03) Judgment in a Criminal Case:                                                      Judgment-Page 4 of' 6
        Sheet 3C - Supervised Release

DEFENDANT: Arelia Jones
CASE NUMBER: CR409-00028-001


                                           SPECIAL CONDITIONS OF SUPERVISION

          The defendant shall participate in a program of testing for drug and alcohol abuse and, if the Court
          determines it is necessary, the defendant shall participate in a program of treatment for drug and alcohol
          abuse.
2.        The defendant shall complete 150 hours of community service during the first 18 months of supervision.
          The defendant shall provide the probation officer with access to any requested financial information. The
          defendant shall not incur new credit charges or open additional lines of credit without the approval of the
          probation officer unless the defendant is in compliance with the installment payment schedule.

                                                    ACKNOWLEDGMENT
Upon finding of a violation of probation or supervised release, 1 understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand the conditions and have been provided a copy of them,


     (Signed)                                                          -
                    Defendant                                          Date




                    U. S. Probation Officer/Designated Witness         Date
                      Case 4:09-cr-00028-WTM-GRS Document 50 Filed 08/19/09 Page 5 of 6
AC) 245B (Rev 12103) Judgment in a Criminal Case:                                                                            JudgmentPage 5 of 6
        Sheet 5 - Criminal Monetary Penalties

DEFENDANT: Arelia Jones
CASE NUMBER: CR409-00028-001
                          CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                           Assessment                        Fine                   Restitution

 Totals:                                                              $100                                         $144,877.63


   1 The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case (AO 245C) will be entered aller
          such a determination.

[X] The defendant must make restitution (including community restitution) to the following payees in the amounts listed below,

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
         victims must be paid before the United States is paid.


          Name of Payee                             Total Loss*              Restitution Ordered                   Priority or Percentage
Nightingale Staffing, Inc.                                                        $144,877.63
9100 White Bluff Road, Suite 301
Savannah, Georgia 31406

                 Totals:                                                             $144,877.63



           Restitution amount ordered pursuant to plea agreement                 $

[XI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
        the fifteenth day after the date ofjudgment, pursuant to 18 U.S.C. § 3612(t), All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).
   I       The court determined that the defendant does not have the ability to pay interest and it is ordered that:


                     The interest requirement is waived for the          ]fine       I J restitution.
                     The interest requirement for the      [ ] line      [ ] restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A. 110, 11 OA and II 3A of' Title 18 for offenses committed on or aliei
September 13, 1994, but before April 23, 1996.
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A0 245B (Rev 12/03) Judgment in a Criminal Case:                                                                               Judgment-Page 6 of 6
         Sheet 6 - Criminal Monetary Penalties

DEFENDANT: Arelia Jones
CASE NUMBER: CR409-00028-001
                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [X] Lump sum payment of$ 100 due immediately, balance due

               not later than _; or
           [X] in accordance with [ ] C. [ 1 D, [ ] E, or [X] F below; or

B[ ] Payment to begin immediately (maybe combined with [ ]C, [ ] D, or [ F below); or

C[ ]      Payment in equal - (e.g., weekly, monthly, quarterly) installments of over a period of_ (e.g., months or years), to commence
           (e.g., 30 or 60 days) after the date of this judgment; or

D[ 1     Payment in equal - (e.g., weekly, monthly, quarterly) installments of over a period of_ (e.g., months or years), to commence
         _(e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E[ 1 Payment during the term of supervised release will commence within - (eg., 30 or 60 days) after release from imprisonment.
          the court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F [X] Special instructions regarding the payment of criminal monetary penalties: Pursuant to 18 U.S.C. § 3664(0(3)(B), nominal
        payments of either quarterly installments of a minimum of $25 if working non-UNICOR or a minimum of 50 percent of monthly
        earnings if working UNICOR shall be made. Upon release from imprisonment and while on supervised release, nominal payments
        of a minimum of $500 per month shall be made. Payments are to be made payable to the Clerk, United States District Court, for
        disbursement to the victim.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[X]      Joint and Several
             Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
            Amount, and corresponding payee, if appropriate:
            Defendant                Docket Number           Total Amount             Joint & Several Amount
            Arelia Jones             CR409-00028-00 1        $144,877.63              $144,877.63
            Keilie Pinkston          CR409-00028-002         $25,065.50               $25,065.50


         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):


is       The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest; (4) fine principal; (5) fine
interest; (6) community restitution; (7) penalties, and (8) costs, including cost of prosecution and court costs.
